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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA


RICHARD DELACRUZ,
on behalf of himself and others
similarly situated,

       Plaintiff,

vs.                                                              COLLECTIVE ACTION

FIRST FAMILY INSURANCE, INC.,
a Florida Corporation,

       Defendant.
                                            /

                                         COMPLAINT

                                      INTRODUCTION

      1.       This is a collective action brought pursuant to the Fair Labor Standards Act of

1938, 29 U.S.C. § 201, et seq. (hereinafter “FLSA”), to recover unpaid overtime compensation

owed to Plaintiff RICHARD DELACRUZ, and all others similarly situated to him who were

formerly or are currently employed as insurance salespersons by Defendant, FIRST FAMILY

INSURANCE, INC., (hereinafter, “FIRST FAMILY INSURANCE”) in Lee County, Florida.

      2.        Pursuant to the FLSA, Plaintiff, on behalf of himself and all others similarly

situated to them, seeks unpaid overtime compensation, liquidated damages or pre-judgment

interest, post-judgment interest, attorneys’ fees and costs from Defendant FIRST FAMILY

INSURANCE.

      3.       Plaintiff also requests the Court to authorize concurrent notice to all persons who

were formerly or are currently employed by Defendants FIRST FAMILY INSURANCE, and

who were paid in a similar manner as Plaintiff, or who were so employed during the Liability

Period, informing them of the pendency of this action and their right to opt into this lawsuit
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pursuant to the FLSA, 29 U.S.C. §216(b).

                                         JURISDICTION

      4.       This Court has jurisdiction over this action pursuant to the Fair Labor Standards

Act of 1938 (“FLSA”), as amended, 29 U.S.C. §216(b), and 28 U.S.C. §1331 and 1337.

                                            VENUE

      5.       Venue is proper in this Court under 28 U.S.C. §1391(b)(2) because a substantial

part of the events or omissions giving rise to the claims occurred in Lee County, Florida and

within the Middle District of Florida.

                                           PARTIES

      6.      Plaintiff RICHARD DELACRUZ (hereinafter “Plaintiff” or “DELACRUZ”)

was, at all material times, a resident of Lee County, Florida and was employed as an insurance

salesperson by Defendant FIRST FAMILY INSURANCE at offices located in Lee County,

Florida, from October 12, 2019 until his separation from employment on October 17, 2020.

       7.     At all times material, Plaintiff was an employee of Defendant FIRST FAMILY

INSURANCE within the meaning of the FLSA.

       8.     At all times material, during Plaintiff’s employment with Defendants FIRST

FAMILY INSURANCE, Plaintiff was engaged in commerce or in the production of goods for

commerce as he handled and sold goods, services and materials that have been moved in or

produced for commerce.

       9.     At all times material, Defendant FIRST FAMILY INSURANCE is an enterprise

engaged in an industry affecting commerce, and is an employer as defined by 29 U.S.C. § 203(d)

and (s)(1), in that it has employees engaged in commerce or in the production of goods for

commerce, or that has employees handling, selling, or otherwise working on goods or materials

that have been moved in or produced for commerce by any person; and it is an enterprise whose
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annual gross volume of sales made or business done is not less than $500,000 (exclusive of excise

taxes at the retail level that are separately stated) which has employees subject to the provisions

of the FLSA, 29 U.S.C. § 207, in the business office where DELACRUZ was employed.

                                 FACTUAL ALLEGATIONS

       10.    The allegations in Paragraphs 1 through 9 are incorporated as if fully stated herein.

       11.    Plaintiff is a non-exempt former employee of Defendant FIRST FAMILY

INSURANCE who worked as a non-exempt insurance salesperson.

       12.    During his employment, Plaintiff worked more than 40 hours per week during

nearly every week of his employment, without being paid the federally mandated wage for

overtime. Specifically, Plaintiff was paid for a maximum of 40 hours per week or less, despite

the fact that he worked significantly more hours.

       13.    Defendants violated the FLSA by failing to pay Plaintiff for overtime hours

worked in excess of forty per week at the applicable time and one-half rate.

       14.    Defendants have a policy, practice and history of not paying any overtime

compensation to its non-exempt employees.



                                       LEGAL CLAIMS

                  COUNT I (as to Plaintiff and those similarly situated):
    Failure to Pay Overtime Wages in Violation of 29 U.S.C. § 207 by FIRST FAMILY
                                     INSURANCE

       15.     The allegations in Paragraphs 1 through 14 are realleged and fully incorporated

by reference herein.

       16.     By its actions alleged above, Defendant FIRST FAMILY INSURANCE

willfully, knowingly and/or recklessly violated the provisions of FLSA, which requires overtime

wages to be paid to non-exempt employees, including those set forth in the provisions of 29
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U.S.C. § 207.

       17.      As a result of the unlawful acts of Defendant FIRST FAMILY INSURANCE,

Plaintiff and all persons similarly situated to him have been deprived of overtime wages in

amounts to be determined at trial, and are entitled to recovery of such amounts in addition to

liquidated damages or prejudgment interest, post-judgment interest, attorneys’ fees and costs.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and all employees similarly situated who join in this action pray

for this Court to enter an order certifying a collective action pursuant to section 216(b) for

violations of the FLSA, and pray for this Court to grant the following relief:

       A.       To authorize the issuance of notice at the earliest possible time to all current and

former employees who were insurance salespeople and were employed by Defendant FIRST

FAMILY INSURANCE, and who were paid for a maximum of 40 hours per week. This notice

should inform them that this action has been filed, describe the nature of the action, and explain

their right to opt into this lawsuit if they were not paid overtime wages as required by the FLSA;

       B.       To declare that Defendant FIRST FAMILY INSURANCE has violated the

overtime provisions of the FLSA, 29 U.S.C. § 207, as to Plaintiff and persons similarly situated;

       C.       To declare that Defendant FIRST FAMILY INSURANCE’s violations of the

FLSA were willful;

       D.       To award Plaintiff and other similarly situated current and former employees of

Defendant FIRST FAMILY INSURANCE adequate damages for the amount of unpaid

overtime wage compensation they are owed, subject to proof at trial;

       E.       To award Plaintiff and other similarly situated current and former employees of

Defendant FIRST FAMILY INSURANCE liquidated damages in an amount equal to the

unpaid overtime compensation shown to be owed pursuant to 29 U.S.C. §216(b);
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       F.      If liquidated damages are not awarded, then the Court should award, in the

alternative, prejudgment interest;

       G.      To make the same declarations and awards as prayed for in paragraphs A-F above

as to all persons who opt into this action pursuant to 29 U.S.C. §216(b); and

       H.      To award Plaintiff and other similarly situated current and former employees of

Defendant FIRST FAMILY INSURANCE their reasonable attorneys’ fees and costs pursuant

to 29 U.S.C. §216(b).

                                        JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.

                                  CONSENT TO JOIN
                              PURSUANT TO 29 U.S.C. §216(b)

       I, RICHARD DELACRUZ, hereby consent and agree and opt-in to become a Plaintiff in

this lawsuit brought under the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et

seq.


/s/RICHARD DELACRUZ
RICHARD DELACRUZ

Dated: July 15, 2021
Plantation, Florida
                                             Respectfully submitted,


                                             /s/Robert S. Norell
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